       6:17-cv-03040-BHH        Date Filed 11/08/17      Entry Number 1        Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION


GINNY RICHMOND,                                       CASE NO. :______________________

                   Plaintiff,

v.
                                                            NOTICE OF REMOVAL
WELLS FARGO & COMPANY,

                   Defendant.


       Wells Fargo Bank, N.A., improperly identified as Wells Fargo & Company (“Wells

Fargo”), files this Notice of Removal pursuant to 28 U.S.C. § 1441 and shows the Court as

follows:

                                       INTRODUCTION

       1.      On October 12, 2017, Plaintiff Ginny Richmond (“Plaintiff”) filed a Complaint

against Wells Fargo in the Court of Common Pleas, County of Greenville, State of South

Carolina, Case No. 2017-CP-23-6439 (“State Court Action”). A service copy of the Complaint

is attached as Exhibit A.

                                 GROUNDS FOR REMOVAL

       2.      This Court has original jurisdiction over this matter based on diversity of

citizenship.

       3.      Plaintiff is a resident of Greenville County, South Carolina. (Compl., ¶ 1)

       4.      Defendant Wells Fargo Bank, N.A. is a national banking association with its

headquarters in San Francisco, California.
       6:17-cv-03040-BHH          Date Filed 11/08/17      Entry Number 1        Page 2 of 3




       5.      Plaintiff demands actual damages, punitive damages, treble damages, attorneys’

fees and consequential damages. (Compl., Wherefore clause) The matter in controversy exceeds

the sum or value of $75,000.00, exclusive of interest and costs.

       6.      As such, this Court has original subject matter jurisdiction over the action based

on diversity of citizenship pursuant to 28 U.S.C. § 1332(a), making the State Court Action

removable to this Court pursuant to 28 U.S.C. § 1441(b).

                 COMPLIANCE WITH PROCEDURAL REQUIREMENTS

       7.      In accordance with 28 U.S.C. § 1441(a), venue of the removal action is proper in

this Court because it is in the district and division embracing the place where the State Court

Action is pending.

       8.      In accordance with 28 U.S.C. § 1446(a), the Summons and Complaint served

upon Wells Fargo in the State Court Action is attached as Exhibit A.

       9.      In accordance with 28 U.S.C. § 1446(b), this Notice is being filed with this Court

within thirty (30) days after Wells Fargo received the Complaint. The Complaint was filed on

October 12, 2017 and served on Wells Fargo on October 16, 2017. See Exhibit A.

       10.     In accordance with 28 U.S.C. § 1446(d), promptly after the filing of this Notice of

Removal, Wells Fargo will give written notice of the removal to the Plaintiffs and will file a

copy of this Notice of Removal with the Clerk of Court of Common Pleas, County of Greenville,

State of South Carolina.

       WHEREFORE, Wells Fargo hereby gives notice that this action is removed to the United

States Court for the District of South Carolina, Greenville Division, and requests that it receive

such other and further relief to which it may show itself justly entitled at law or in equity.




                                                  2
      6:17-cv-03040-BHH       Date Filed 11/08/17    Entry Number 1     Page 3 of 3




This 8th day of November, 2017.

                                         s/ S. Sterling Laney

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                                            3
